










Opinion issued July 10, 2008











In The
Court of Appeals
For The
First District of Texas




NO. 01–08–00313-CV




ROBERT MCLENDON,  Appellant

V.
HOUSTON CHRONICLE,  Appellee




On Appeal from the 55th District Court
Harris County, Texas
Trial Court Cause No. 2007-34069




MEMORANDUM OPINIONAppellant Robert McLendon has neither established indigence, nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov’t
Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon 2006) (listing fees in court of
appeals); Fees Civ. Cases B(1), (3) (listing fees in court of appeals).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has neither established indigence, nor paid or made arrangements to
pay the clerk’s fee for preparing the clerk’s record.  See Tex. R. App. P. 20.1 (listing
requirements for establishing indigence), 37.3(b) (allowing dismissal of appeal if no
clerk’s record filed due to appellant’s fault).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After being notified that this appeal was subject to dismissal, appellant did not
adequately respond.  See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c)
(allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We dismiss the appeal for nonpayment of all required fees and failure to pay
or make arrangements to pay the trial court clerk’s fee for preparation of the clerk’s
record.  We deny all pending motions.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Keyes and Higley.


